Case 2:17-cv-07342-FMO-AFM       Document 28   Filed 03/09/18   Page 1 of 11 Page ID
                                       #:89


       Ted Luymes (Cal. Bar no. 150351)
       TED LUYMES LAW FIRM
       140 South Lake Ave., Suite 349
   1   Pasadena, California 91101
       Tel: (626) 993-7000
   2   ted@tedlawfirm.com
   3
   4    Attorney for BARNEY’S INC and
        Specially Appearing Defendant,
   5    FACETASM
   6
   7                      UNITED STATES DISTRICT COURT
   8                    CENTRAL DISTRICT OF CALIFORNIA
   9
  10
       BRETT GRIMMELBEIN, an                       Case No. 2:17-cv-07342-FMO-AFMx
  11
       individual,
  12                                               NOTICE OF MOTION AND
                    Plaintiff,                     MOTION TO DISMISS
  13                                               FACETASM FOR LACK OF
                                                   PERSONAL JURISDICTION
  14          v.                                   FRCP 12(b)(2);
  15                                               Declarations of Hiromichi Ochiai
       FACETASM, a Japanese corporation;           and Andrew Caldwell filed herewith
  16   BARNEYS, INC. a New York
  17   corporation, and DOES 1-10, inclusive.
                                                   [Filed concurrently with Motion to
                                                   Quash Service & Dismiss for Insuff.
  18                Defendants.                    Service of Process FRCP 12(b)(5)]
  19
                                                   Date: April 19, 2018
  20                                               Time: 10:00 am
                                                   Courtroom: 6D
  21
  22
  23   TO ALL PARTIES AND TO THEIR ATTORNEYS OF RECORD:
  24        PLEASE TAKE NOTICE that on April 19, 2018, at 10:00 a.m., or as soon
  25   thereafter as the matter may be heard by Hon. Fernando M. Olguin, United States
  26   Courthouse, 350 W. 1st Street, 6th Floor, Courtroom 6D, Los Angeles, CA 90012,
  27
           MOTION TO DISMISS FACETASM FOR LACK OF PERSONAL JURISDICTION
  28
Case 2:17-cv-07342-FMO-AFM         Document 28    Filed 03/09/18    Page 2 of 11 Page ID
                                         #:90


       specially appearing Defendant, FACETASM (“Facetasm” or “Defendant”), will
       and hereby does move pursuant to Federal Rules of Civil Procedure 12(b)(2) for
   1
       an order dismissing Facetasm from this action on the ground no constitutional
   2
       basis for jurisdiction exists between this specially appearing defendant and the
   3
       State of California.
   4
             This motion is based upon this Notice of Motion and Motion, the
   5
       Memorandum of Points and Authorities, and the Declarations of Hiromichi Ochiai
   6
       and Andrew Caldwell filed and served herewith, and upon the records and
   7
       pleadings on file herein.
   8
   9
                          RULE 7-3 CONFERENCE OF COUNSEL
  10
             This motion is made following the conference of counsel pursuant to L.R. 7-
  11
       3 which took place on February 27, 2018. The meeting was held in-person at the
  12
       office of plaintiff’s counsel.
  13
  14   DATED: March 9, 2018                             TED LUYMES LAW FIRM
  15
  16                                                    By:    /s/ TED H. LUYMES
                                                              Ted H. Luymes
  17
                                                        Attorney for Specially Appearing
  18                                                    Defendant, FACETASM
  19
  20
  21
  22
  23
  24
  25
  26
  27
                                                 -ii-
  28       MOTION TO DISMISS FACETASM FOR LACK OF PERSONAL JURISDICTION
Case 2:17-cv-07342-FMO-AFM      Document 28      Filed 03/09/18   Page 3 of 11 Page ID
                                      #:91


                   MEMORANDUM OF POINTS AND AUTHORITIES

   1               1. INTRODUCTION
   2
            Specially appearing defendant, Facetasm, is a Japanese corporation with no
   3
       ties to the United States. It has been sued in California for copyright infringement
   4
   5   for conduct that occurred in Japan.
   6
            The complaint alleges that Facetasm - a Japanese high fashion label -
   7
   8   misappropriated plaintiff’s “Maryland Eagle” tattoo art by copying the design on

   9   some of its garments. There is no basis for a court in California to exercise
  10
       jurisdiction over Facetasm, which has no presence here and no “minimum
  11
  12   contacts” for the reasonable exercise of jurisdiction. Facetasm has never availed

  13   itself of the protections of U.S. or California law.
  14
            Further, there is no basis for specific jurisdiction, as Facetasm never
  15
  16   marketed the Maryland Eagle garments in the U.S., had no sales in California, and

  17   the garments were never displayed here. All of the predicate acts of alleged
  18
       infringement took place in Japan – where U.S. copyright law does not apply.
  19
  20        Plaintiff cannot meet its burden of proving that jurisdiction over Facetasm is

  21   constitutional. It would be unfair and burdensome to require Facetasm to defend
  22
       itself here. Facetasm should be dismissed.
  23
  24               2. STATEMENT OF FACTS

  25        The following facts are set forth in the accompanying Declarations of
  26
       Hiromichi Ochiai, the CEO of Facetasm and its principal fashion designer.
  27                                        -1-
  28       MOTION TO DISMISS FACETASM FOR LACK OF PERSONAL JURISDICTION
Case 2:17-cv-07342-FMO-AFM      Document 28     Filed 03/09/18   Page 4 of 11 Page ID
                                      #:92


            Facetasm is a corporation created by and existing under the laws of Japan.

   1   Its headquarters has always been located in Tokyo. All of Facetasm’s
   2
       shareholders, officers, and employees are Japanese citizens and reside in Japan.
   3
   4   Facetasm is not a subsidiary of, or related to, any U.S. entity. (Ochiai Decl. ¶ 2.)

   5        Facetasm has never maintained offices, stores, or had employees within the
   6
       U.S. Facetasm has never had or applied for any business licenses in the U.S. It
   7
   8   has never had an agent for service of process in the U.S. It has never owned or

   9   leased real property in the U.S. (Ochiai Decl. ¶ 3.)
  10
            Other than this lawsuit, Facetasm has never sued or been sued anywhere in
  11
  12   the U.S. and does not maintain U.S. insurance. Facetasm has never availed itself

  13   of the courts or laws of California in any way. It does not pay taxes to or receive
  14
       benefits from any U.S. or state government. Facetasm has never had a bank
  15
  16   account within the U.S. and has never had a U.S. telephone number. (Ochiai
  17   Decl. ¶ 4.)
  18
            Facetasm has never directed any marketing to the U.S. or California. It does
  19
  20   not advertise in the U.S. or California. Facetasm operates an official website -
  21   facetasm.jp - which is hosted in Japan. The contents of the website are mainly
  22
       photographic. One part of the website is an e-store, whereby customers can
  23
  24   purchase garments directly from the company. However, the prices are in
  25   Japanese Yen and Facetasm cannot make foreign sales from the website. The
  26
  27                                            -2-
  28       MOTION TO DISMISS FACETASM FOR LACK OF PERSONAL JURISDICTION
Case 2:17-cv-07342-FMO-AFM       Document 28     Filed 03/09/18   Page 5 of 11 Page ID
                                       #:93


       terms and conditions of sale are in the Japanese language. No sales were ever

   1   made to the U.S. from the website. (Ochiai Decl. ¶ 5.)
   2
               Facetasm has a presence on social media, including Facebook, Twitter, and
   3
   4   Instagram. It does not make sales from social media platforms. Most of its social

   5   media content is either photographic or is written in the Japanese language
   6
       mixing-in English words and phrases. There has never been any effort to direct
   7
   8   Facetasm’s online or social media advertising to the U.S. market or California.

   9   (Ochiai Decl. ¶ 6.)
  10
               As a fashion label, Facetasm participated in a single trade show in New
  11
  12   York City in February 2016. The Maryland Eagle design was not used or

  13   displayed by Facetasm at that trade show. Other than the one tradeshow in New
  14
       York City, Facetasm has never participated in any fashion shows, trade shows, or
  15
  16   similar events within the U.S. (Ochiai Decl. ¶ 7.)
  17           Facetasm has never made any direct sales of its garments to U.S. customers,
  18
       retailers, distributors, or wholesalers. However, its international distributor,
  19
  20   TOMORROW Ltd., wholesaled a small number of Facetasm label garments to
  21   Barney’s NY in New York City. (Ochiai Decl. ¶ 8; Andrew Caldwell Decl. ¶ 2.)
  22
       The order included eight (8) garments bearing the Maryland Eagle design.
  23
  24   Barney’s NY sold only three (3) garments in the U.S. – none in California. The
  25   remaining garments were returned to the vendor. (Caldwell Decl. ¶ 2.)
  26
       / / /
  27                                            -3-
  28       MOTION TO DISMISS FACETASM FOR LACK OF PERSONAL JURISDICTION
Case 2:17-cv-07342-FMO-AFM      Document 28     Filed 03/09/18   Page 6 of 11 Page ID
                                      #:94




   1        Mr. Ochiai first saw the Maryland Eagle design in a photo book he bought
   2
       in Tokyo. He liked the artwork and had it traced by an embroidery company in
   3
   4   Tokyo. The embroidery and appliques of the design were used on some of

   5   Facetasm’s clothing. All of Facetasm's garments are designed, sewn, and
   6
       assembled in Japan. No Facetasm garments bearing the Maryland Eagle were
   7
   8   ever displayed in California, marketed specifically to California residents, or sold

   9   to anyone within California. (Ochiai Decl. ¶ 9.)
  10
            It would impose a substantial burden on Facetasm to have to defend itself in
  11
  12   California. The witnesses for Facetasm all reside and work in Japan. Most of

  13   Facetasm’s witnesses do not speak English or have a limited understanding of the
  14
       English language. Facetasm’s communications and other records are in Japanese.
  15
  16   Facetasm’s employees have no knowledge of U.S. laws or court proceedings. It
  17   would be extremely expensive and time-consuming to have to defend a lawsuit in
  18
       California. (Ochiai Decl. ¶ 10.)
  19
  20               3.     ARGUMENT
  21        Plaintiff bears the burden of proving by a preponderance of the evidence
  22
       that personal jurisdiction exists over a non-resident defendant. Schwarzenegger v.
  23
  24   Fred Martin Motor Co., 374 F.3d 797, 800 (9th Cir 2004). The “‘unique burdens’
  25   placed on a foreign national defending itself locally ‘should have significant
  26
       weight’ in assessing the ‘reasonableness’ of a local court’s exercise of
  27                                          -4-
  28       MOTION TO DISMISS FACETASM FOR LACK OF PERSONAL JURISDICTION
Case 2:17-cv-07342-FMO-AFM       Document 28     Filed 03/09/18   Page 7 of 11 Page ID
                                       #:95


       jurisdiction.” Asahi Metal Industry Co., Ltd. vs Sup. Ct. of Calif, 480 US 102,

   1   114, 017 S.Ct. 1026, 1033 (1987).
   2
               “Federal courts ordinarily follow state law in determining the bounds of
   3
   4   their jurisdiction over persons.” Daimler AG v. Bauman, 134 S. Ct. 746, 753

   5   (2014). California’s long-arm statute authorizes courts to exercise jurisdiction on
   6
       any basis not inconsistent with the Constitution of the United States or the
   7
   8   Constitution of California. Cal. Code of Civil Pro. § 410.10. A non-resident

   9   defendant must have sufficient “minimum contacts” with the forum state, such
  10
       that “maintenance of the suit does not offend traditional notions of fair play and
  11
  12   substantial justice.” International Shoe Co. v. Washington, 326 U.S. 310, 316, 66

  13   S.Ct. 154, 158 (1945).
  14
               The two recognized bases for personal jurisdiction are (1) “general
  15
  16   jurisdiction” which arises when the non-resident defendant’s contacts with the
  17   forum state are “so pervasive as to justify the exercise of jurisdiction over the
  18
       person in all matters,” and (2) “specific jurisdiction” which arises out of the
  19
  20   defendant’s contacts with the forum giving rise to the subject litigation. Ziller
  21   Electronics Lab GmbH v. Superior Court, Cal.App. 3d 1222, 1232 (1988). See
  22
       also, Helicopteros Nacionales de Columbia, S.A. v. Hall, 466 U.S. 408, 414, 104
  23
  24   S.Ct. 1868, 1872 (1984).
  25   / / /
  26
       / / /
  27                                            -5-
  28       MOTION TO DISMISS FACETASM FOR LACK OF PERSONAL JURISDICTION
Case 2:17-cv-07342-FMO-AFM       Document 28       Filed 03/09/18   Page 8 of 11 Page ID
                                       #:96


                   A. There Is No Basis to Assert “General” Jurisdiction.

   1         To establish general jurisdiction, the defendant must have “substantial” or
   2
       “continuous and systematic” contacts with California. Facetasm does not have
   3
   4   sufficient contacts with, or activity in, California to be subject to this court’s

   5   general jurisdiction. Mr. Ochiai’s declaration need not be repeated here to
   6
       propose the obvious: Facetasm has no contacts with California and has had
   7
   8   almost no contact with any state in the U.S. (Ochiai Decl. ¶¶ 2-7.) Plaintiff’s

   9   general jurisdiction claim is unavailing.
  10
                   B. There Is No Basis to Assert “Specific” Jurisdiction.
  11
  12         Whether “specific jurisdiction” will lie turns on the nature and quality of the

  13   defendant’s contacts in relation to the cause of action. As the Ziller court stated,
  14
       to be subject to the specific jurisdiction of the forum, the defendant must
  15
  16   purposefully avail himself of forum benefits and the controversy must relate to or
  17   “arise out of” the defendants’ contacts with the forum:
  18
             “[S]pecific jurisdiction is determined under a three-part test.
  19
  20         ‘(1) the non-resident defendant must do some act or consummate
  21         some transaction with the forum or perform some act by which he
  22
             purposefully avails himself of the privilege of conducting activities in
  23
  24         the forum, thereby invoking the benefits and protection of its laws;
  25         (2) the claim must be one that arises out of or results from the
  26
             defendant’s forum-related activities; and (3) exercise of jurisdiction
  27                                           -6-
  28       MOTION TO DISMISS FACETASM FOR LACK OF PERSONAL JURISDICTION
Case 2:17-cv-07342-FMO-AFM      Document 28     Filed 03/09/18   Page 9 of 11 Page ID
                                      #:97


            must be reasonable.’ Panavision Intl. L.P. v. Toeppen, 141 F.3d 1316,

   1        1320 (9th Cir. 1998) [applying California law].
   2
            This case did not arise out of any conduct that occurred within the
   3
   4   State of California. As explained by Facetasm’s principal designer, Mr.

   5   Ochiai saw the Maryland Eagle design in a photo book he bought in Tokyo.
   6
       He liked the artwork and had it traced by an embroidery company in Tokyo.
   7
   8   The embroidery and appliques of the design were used on some of

   9   Facetasm’s clothing - all of which were designed, sewn, and assembled in
  10
       Japan. (Ochiai Decl. ¶ 9.)
  11
  12         The alleged “predicate acts” of infringement occurred in Japan – not

  13   California. That fact alone undermines the very basis for this lawsuit, as
  14
       U.S. copyright law does not apply in foreign countries. See, Kirtsaeng v.
  15
  16   John Wiley & Sons, Inc., 568 U.S. 519, 133 S.Ct. 1351, 1376 (2016) and LA
  17   News Serv. v. Reuters Television Int’l, Ltd, 149 F.3d 987, 992 (9th Cir
  18
       1998).
  19
  20        Likewise, Facetasm did not engage in any conduct “directed to”
  21   California and has never availed itself of the privilege of doing business
  22
       here. The complaint states nothing but the barest, conclusory allegations
  23
  24   about personal jurisdiction:
  25        “Defendants are subject to the personal jurisdiction of the Court
  26
            because they do or transact business in, have agents in, or are
  27                                          -7-
  28       MOTION TO DISMISS FACETASM FOR LACK OF PERSONAL JURISDICTION
Case 2:17-cv-07342-FMO-AFM      Document 28     Filed 03/09/18    Page 10 of 11 Page ID
                                       #:98


             otherwise found in and have purposely availed themselves of

    1        the privilege of doing business in California and in this District,
    2
             and because the alleged misconduct was directed to California
    3
    4        and this district.” (Complaint ¶ 3.)

    5         No garments bearing the Maryland Eagle were ever displayed in
    6
        California, marketed specifically to California residents, or sold to anyone
    7
    8   in California. (Ochiai Decl. ¶ 10.) Facetasm’s website cannot make sales

    9   to California. There was never an advertising campaign, social media
  10
        campaign, or anything similar directed to California (for the Maryland
  11
  12    Eagle garments or any others). (Ochiai Decl. ¶¶ 5-8.)

  13          Defendant, Barney’s NY, bought a total of eight (8) Maryland Eagle
  14
        garments through a third-party distributor (not from Facetasm). Just three
  15
  16    (3) garments were sold – none in California or to a California resident.
  17    (Caldwell Decl. ¶ 2.)
  18
              The conclusory allegations in the Complaint are not based in fact.
  19
  20    Even if there were some basis to assert jurisdiction, it would be patently
  21    unfair to compel Facetasm to defend itself here.
  22
                    C. It Is Unreasonable to Require Facetasm to Defend Itself
  23
  24                   in California.
  25        Beyond the issues of “general” and “specific” jurisdiction is the
  26
        question of fairness. Having to defend this lawsuit will impose a substantial
  27                                           -8-
  28        MOTION TO DISMISS FACETASM FOR LACK OF PERSONAL JURISDICTION
Case 2:17-cv-07342-FMO-AFM       Document 28      Filed 03/09/18   Page 11 of 11 Page ID
                                        #:99


        burden on Facetasm, whose witnesses all reside and work in Japan. Most of

    1   Facetasm’s witnesses do not speak English or have a limited understanding
    2
        of the English language. Facetasm’s communications and other records are
    3
    4   in Japanese. Facetasm’s employees have no knowledge of U.S. laws or

    5   court proceedings – let alone U.S. copyright law that does not apply in
    6
        Japan. (See, Ochiai Decl. ¶ 10).
    7
    8        It would be unduly expensive, time-consuming, and burdensome for

    9   Facetasm to have to defend a lawsuit in California. This, alone, calls for
  10
        restraint in the court’s exercise of jurisdiction.
  11
  12                 4. CONCLUSION

  13          Facetasm is a Japanese corporation with no connections to California
  14
        or, for that matter, the U.S. None of the alleged wrongful conduct occurred
  15
  16    in California. No sales of the allegedly infringing garments were made
  17    here. Facetasm did not direct any advertising of marketing campaigns to
  18
        California. There is no constitutional basis to exercise jurisdiction over
  19
  20    Facetasm and this motion should be granted.
  21
        DATED: March 9, 2018                            TED LUYMES LAW FIRM
  22
  23
                                                        By:    /s/ TED H. LUYMES
  24
                                                              Ted H. Luymes
  25                                                    Attorney for Specially Appearing
  26                                                    Defendant, FACETASM
  27                                              -9-
  28        MOTION TO DISMISS FACETASM FOR LACK OF PERSONAL JURISDICTION
